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          EXHIBIT 1
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                                                                                                                     USOO8738040B2


(12) United States Patent                                                                         (10) Patent No.:                   US 8,738,040 B2
       Pérez Lafuente                                                                             (45) Date of Patent:                         May 27, 2014

(54) METHOD AND SYSTEM FORMONITORING                                                          (58) Field of Classification Search
       A MOBILE STATION PRESENCE INA                                                                    USPC ........... 455/4.56.4, 555, 408,432.2, 406, 458,
       SPECIAL AREA                                                                                                                  455/414.1, 446, 456.1, 433
                                                                                                   See application file for complete search history.
(75) Inventor: Carlos Alberto Pérez Lafuente, Madrid                                          (56)               References Cited
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(73) Assignee: Afirma Consulting & Technologies,
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(21) Appl. No.:
              y x- - -
                              12A294,641
                                       9
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(22) PCT Filed:               Mar. 27, 2007                                                   Primary Examiner — Jinsong Hu
(86). PCT No.:                PCT/EP2007/052939                                               Assistant Examiner — Jean Chang
                                                                                              (74) Attorney, Agent, or Firm — Venable LLP; Jeffri A.
       S371 (c)(1),                                                                           Kaminski
       (2), (4) Date:         Apr. 12, 2010                                                   (57)                      ABSTRACT
(87) PCT Pub. No.: WO2007/110430                                                              Method for monitoring the presence of a mobile station (200)
                                                                                              in at least one special area (203, 203b), wherein a radio
       PCT Pub. Date: Oct. 4, 2007                                                            communication defining device (212. 212b) transmits one
                                           O   O                                              radio distinctive defining signal (214, 214b) that defines the
(65)               Prior Publication Data                                                     special area by its coverage, the mobile station processes a
       US 2010/O190508 A1     Jul. 29, 2010                                                   signal received in order to determine whether or not it is a
                                                                                              defining signal and more precisely a distinctive one that
(30)              Foreign Application Priority Data                                           des     the R S. mobile is sends Rats
                                                                                              S1gnal to a mobile telephone network, the network routes the
  Mar. 28,s 2006          (EP) ..................................... 06111804                 updating
                                                                                               p     g signal
                                                                                                       S1g    to special
                                                                                                                  p      operating
                                                                                                                          p      9. means that adapt
                                                                                                                                                  p the
                                                                                              value of an operating parameter. According to the invention,
(51) Int. Cl.                                                                                 the special area is associated to the mobile station by trans
     H04764/00                        (2009.01)                                               mitting to the mobile station a checking data used by the
 52) U.S. C.                                                                                  mobile station for determining whether or not the defining
(52)                                                                                          signal received is a distinctive defining signal.
       USPC ..................... 455/456.4; 455/456.1; 455/433;                                9.                                    g S1g
                                                                  455/432.2                                     14 Claims, 7 Drawing Sheets


                                                                                                        SO


                                                                    -             Sls
                                                                                                  52
                                                                                Yes --56
                                                                                                       58
                                                             N


                                                                                                   52
                                                                                distinctive
                                                                            definingsg

                                                                                         --524.
                                                                        resend presence UPSIG-- SS


                                                            532
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                                                                          AOO Transmit, store, erase
                                                                                     and maintain CD in a MS

                Start CD
                management




                 Definition of                                                                  Modify a SA
                 a new SA




              UPD parameters                                                                 UPD parameters
              DB in SOMs                                                                     DB in SOMs        452




              CD (re)sent from                      Deactiv. SIG from                        CD (resent from
              SOMs to the MS                        SOMs to the MS                           SOMs to the MS    45.
                                        No                                     No
   No
   (resent)                      40
                                    (resent)^- A38                        (resent)
                                                                        A36                                    A56
                                                       Deactivation                               Modified
                                                           OK                                     CD ACK




                                     CD has been successfully updated at the MSDB


                                                       f
                                                      AE
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                                      FIG-5
                                    Goswitchen)--500


                                    Receiving defining
                                          SIG




                                                                518
                   No h in
                                         Receiving        -vr 52 O
                                        distinctive
                                      defining SIGP




                              (re)send presence UPD SIG


                  532
                                    ACK from SOMSP
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                                          ?
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                                                        US 8,738,040 B2
                                 1.                                                                  2
     METHOD AND SYSTEM FORMONITORING                                    monitored without having to at least modify one or more
       A MOBILE STATION PRESENCE IN A                                   guide units broadcasting in Such areas. It lacks therefore of
               SPECIAL AREA                                             flexibility.
            CROSS REFERENCE TO RELATED                                              DISCLOSURE OF THE INVENTION
                   APPLICATIONS
                                                                    An object of the invention is therefore to provide a method
    This application is the United States national phase filing for monitoring the presence of a mobile station in at least one
                                                                  special area, said method providing the flexibility to the
 of the corresponding international application number PCT/ 10 mobile     telephone network of associating new special areas
 EP2007/052939 filed on Mar. 27, 2007, which claims priority for this mobile
 to and benefit of the European patent application no. radio transmitting         station in a secure way without modifying any
                                                                                      device.
 06111804.8 filed Mar. 28, 2006, each of which is hereby            This   object is achieved    in accordance with claim 1 by
 incorporated herein by reference.                                     providing a method for monitoring the presence of a
    This invention relates to a method for monitoring a mobile 15      mobile station in at least one special area associated to
 station presence in a special area. This invention relates also       the mobile station, the method comprising the following
 to a mobile system, a server, a radio transmitting device, and        steps:
 a mobile station Suitable for carrying out such a method.          a. at least one radio communication defining device trans
                    BACKGROUND ART
                                                                       mits repeatedly in at least a channel one radio distinctive
                                                                       defining signal that defines the special area by its cover
                                                                             age,
   Development of short range wireless communication solu                 b. the mobile station observes the channel and process any
 tions based on the use of Bluetooth, DECT and WIFI within                   signal received in order to determine whether or not it is
 a small area Such as homes is strong competition for mobile                 receiving any defining signal,
 operators owning wide mobile networks. A mobile telephone 25 c. the mobile station processes any defining signal received
 network (called also mobile network) includes a large number                in order to determine whether or not the defining signal
 of base stations and all the data processing means required to              received is a distinctive defining signal that defines the
 provide the telecommunication service to each mobile station                special area,
 serviced by said mobile network.                                         d. the mobile station sends an updating signal to a mobile
    These short range wireless communication solutions can 30                telephone network about its presence in the special area,
 provide direct connection to fixed networks whose operators              e. the mobile telephone network routes the updating signal
 offer cheaper rates than those offered by mobile networks. It               to special operating means that adapt the value of at least
 can therefore be of interest for mobile network operators to                one operating parameter depending on the presence of
 offer different rates depending on the instantaneous location 35            the mobile station in the special area, the said method is
 of a mobile station connected to its mobile network, in par                 characterized   in that the special area is associated to the
 ticular in areas; called special areas, where it could face                 mobile   station  by transmitting to the mobile station a
 strong competition from Some short range wireless commu                     checking   data,   this checking data being used by the
 nication solutions.
                                                                             mobile  station  for determining whether or not the defin
                                                                             ing signal received is a distinctive defining signal that
    The published patent application no US20020094.801 40                    defines, alone or with other distinctive defining signals,
 describes a technical Solution: a fixed station sends an                    the special area associated to the mobile station and the
 encoded first signal and the coverage of said first signal                  same checking data being sent to any mobile station
 defines a special area. The fixed station and a mobile station              whose presence in this special area is monitored.
 using the special area are linked one another via the signal             Advantageously from the operator's point of view, the
 code. But this document does not disclose anything about the 45 invention brings the flexibility needed to activate a special
 content of said coded signal. In order to realize protection way of operating a mobile station in a special area by trans
 against the abuse of the system, in an embodiment, this docu mitting a checking data that will be stored in a mobile station
 ment proposes to provide the fixed station with receiving and database without having to modify, by way of introducing any
 comparison means for an access code that is to be applied to new data (notably the identity code of said mobile station), at
 the fixed station via the mobile station in order to put the fixed 50 least one radio communication defining device like in the
 station into operation.                                               aforementioned international patent application WO
    The international application WO 00/27152 offers another 00/27152. Therefore, a radio communication defining device
 Solution for locating a mobile station based on the use of a is not required to store all the mobile stations identity codes
 guide unit that broadcasts a short range radio signal which using the special area defined by at least the coverage of its
 defines a home area. This document discloses that the short 55 defining signal(s).
 range radio signal contains the identity code of said mobile             According to the present invention, a special area associ
 station that has to identify its own identity code in order to ated to a mobile station can be defined by one or more defin
 notice to a mobile Switching centre that it is located in its ing signals. Therefore the checking data may preferably con
 home area. This mobile station transmits then a home mes              tain information included in every defining signals defining
 sage to the mobile network, this home message being possi 60 completely a special area (each one defines it partially) and
 bly used notably for defining the price/service connected to the mobile station try to find any of this information in any
 telephone calls. In this last, technical Solution, the guide unit defining signal received with comparison means. The mobile
 has to know the identity of the mobile station and this last station may receive defining signals that do not define any
 Solution is thought to be used for a home special area.               special area for it. In the case where the special area is defined
    However, this last technical solution does not allow the 65 by two or more defining signals, this special area may be the
 mobile network, to add for a mobile station one or more               intersection of all or part of them or the global coverage of the
 special areas wherein the presence of a mobile station is defining signals.
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                                 3                                                                       4
    In addition, a method according to the invention is spe                In an embodiment of this invention, the special operating
 cially suitable to be used in environments like for example means store a parameters database linking the special area to
 airports, company’s premises or business centres where the the mobile station and to a set of at least the operating param
 number of different mobile stations to be serviced by the eter, and the special operating means adapt the value of at
 mobile telephone network would be high. With the solution of 5 least an operational parameter of this set when they receive an
 the aforementioned international patent application WO updating signal signalling that the mobile station exits or
 00/27152, it would be necessary to store and transmit in and enters the special area. Thanks to this embodiment of the
 from a single radio communication defining device all the invention, the processing of these operating parameters is
 mobile station identity codes of the potential mobile stations
 using a special area defined in Such environment, operation 10 centralized          in the special operating means and it is not done in
                                                                        each base station. In case the mobile station will be switch off,
 which would difficult or even impossible considering that the the           mobile network operator will decide whether or not the
 radio spectrum is a limited resource. Therefore, the applica
 tion WO 00/27152 has a narrower geographical scope of values           of  the
                                                                                of the operating parameters associated to the presence
                                                                                 mobile station into special operating areas remain
 usability. It is also not required, thanks to the invention, to
 send any activation code to activate a radio communication          15 unchanged    or are disabled into the database containing the set
 defining device and it is not required to store all the mobile of operating parameters as consequence of the Switching off
 stations activation codes in the radio communication defining process.
 device, as in one embodiment of the published patent appli                In a particular embodiment, the operating parameter is a
 cation no US20020094.801. Therefore, it is easier with this            tariff or a service flag that enables or disables a special tariff
 present invention to realize protection against abuse of the or a service for the mobile station. Advantageously, the opera
 system.                                                                tor's services offer can therefore being dependent on the
    The special operating means may be at least partly location of the mobile station.
 included in the data processing means of the mobile tele                  In a particular embodiment, the updating signal includes a
 phone network. All of them or part of them may be own or request to access to a service or to a multimedia content and
 operate by an external provider of the mobile telephone net 25 the mobile telephone network routes this request to a part of
 work.                                                                  the special operating means that allow or forbid the provision
    In a particular embodiment, the special area is deactivated of this service or multimedia content depending on whether
 for the mobile station by the mobile telephone network send or not the mobile station is into the special area. This part of
 ing a deactivation signal to the mobile station to stop the the special operating means may be operated by the mobile
 mobile station from recognizing a defining signal that defines 30 telephone network operator or by a different provider.
 that special area as a distinctive one.                                   In a particular embodiment, the transmission of the check
    In a particular embodiment, the special operating means ing data to the mobile station is done via the mobile telephone
 acknowledge the reception of the updating signal and trans network or via a signal of at least one radio device or via a
 mit an acknowledgement signal to the mobile station. In this person introducing the checking data in the mobile station.
 embodiment, the mobile station knows advantageously if the 35 According to the present invention, there is further pro
 mobile telephone network received the updating signal or not. vided a mobile system for monitoring the presence of a
    In a particular embodiment, at least one radio communica mobile station in a special area defined for this mobile station,
 tion defining device is a wireless device whose radio distinc said system comprising:
 tive defining signal that defines the special area is a distinctive       checking means for detecting the presence of the mobile
 wireless signal transmitted by the wireless device in a fre 40               station in the special area associated to this mobile sta
 quency range outside the frequency range allocated for the                   tion, said checking means including:
 mobile telephone network. Preferably, the said distinctive                   At least one radio communication defining device trans
 wireless signal contains wireless device identification data                    mitting repeatedly in at least a channel a radio distinc
 and reliable information confirming that the wireless device is                 tive defining signal that defines the special area,
 effectively located into a predetermined environment. The 45                 in the mobile station, observing means for observing the
 operator of the mobile telephone network advantageously                         channel and processing means for processing any sig
 avoids fraud linked to a possible shifting of the wireless                      nal received in the channel in order to determine
 device. The checking data associated to this wireless device                    whether or not the signal received is a defining signal
 includes this wireless device identification data.                              and, if the signal received is a defining signal, whether
    In another particular embodiment, at least one radio com 50                  or not the signal received is a distinctive defining
 munication defining device is a base station whose radio                        signal that defines the special area,
 distinctive defining signal that defines the special area is a            transmission means for sending an updating signal regard
 distinctive signal comprising a special mobile telephone net                 ing the presence of the mobile station in the special area
 work identification code, the checking data associated to this               from the processing means to special operating means
 base station includes this special mobile telephone network 55               included at least partly in data processing means of the
 identification code.                                                         mobile telephone network,
    In another particular embodiment, at least one radio com               the special operating means for adapting the value of at
 munication defining device is a base station whose radio                     least one operating parameter depending on the presence
 distinctive defining signal that defines the special area is a               of the mobile station in the special area,
 distinctive base station identity signal comprising an identi 60 characterized in that the said mobile system comprises Stor
 fication code of the base station, the checking data associated ing means for storing a checking data in the mobile station,
 to this base station includes this base station identification         the processing means include means for using this checking
 code. The mobile telephone network operator controls and data for determining whether or not the defining signal
 knows the location of all the base stations broadcasting iden received is a distinctive defining signal that defines, alone or
 tification codes contained into the mobile station database 65 with other distinctive defining signals, the special area and the
 and therefore advantageously controls the location of the same checking data is sent to any mobile station whose pres
 special area.                                                          ence in this special area is monitored.
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                                  5                                                                      6
    In a particular embodiment of the invention, the mobile               FIG. 1, FIG. 2 and FIG. 3 are three schematic figures
 system comprises special area location monitoring means for describing three particular embodiments of mobile systems
 monitoring the correct location of at least a part of the special according to the invention.
 area. It is then harder to fraud by moving the radio commu               FIG. 1 is a schematic diagram illustrating an embodiment
 nication defining device. In a particular embodiment of the 5 of the invention wherein:
 invention, the mobile system carries out a method according              any base station 107 or 105 of a mobile telephone network
 to the present invention.                                                   of an operator is a radio communication defining device
    This invention also concerns a server. According to the                  transmitting a radio defining signal in a channel used by
 invention, this server is characterized in that it contains at 10 thethe         mobile telephone network,
                                                                              distinctive  radio defining signal that defines the special
 least some of the special operating means included in the                   area  is a distinctive signal transmitted by Some selected
 mobile system according to the present invention. This server               base stations 105, said distinctive signal comprising a
 may contain the whole or part of the special operating means.               special mobile telephone network identification code.
 In this last case, the special operating means may be spread in             The   sum of the coverage of these selected base stations
 several servers or computers.                                      15       105 defines a special area (the shaded area of FIG. 1).
    According to the present invention, there is further pro              the checking data includes this special mobile telephone
 vided a radio communication defining device, characterized                  network identification code.
 in that it carries out a method according to the present inven           More precisely, FIG. 1 shows a geographical area 102
 tion. In a particular embodiment, the said radio communica covered by the mobile telephone network. The radio coverage
 tion defining device of the invention is a wireless device and of the mobile telephone network in this geographical area 102
 it contains means for transmitting the distinctive wireless is the addition of the radio coverage 104 and 106 of several
 signal that defines the special area and means for obtaining base stations 105 and 107. The mobile telephone network
 reliable information indicating whether or not the said wire includes data-processing means that comprise a server
 less device is located into a predetermined environment.              according to the invention including special operating means
    This invention also concerns a mobile station, character 25 according to the invention.
 ized in that this mobile station is suitable to carry out a method       Each base station is transmitting network data, including a
 according to the present invention. This mobile station may mobile telephone network identification code, which allows a
 be a mobile telephone or a Personal Digital Assistant for mobile station 100 in the geographical area 102 to select the
 example.                                                              appropriate mobile telephone network.
                                                                    30    The operator of the mobile telephone network defines one
         BRIEF DESCRIPTION OF THE DRAWINGS                             special mobile telephone network identification code, called
                                                                       IC2, (in another embodiment, the operator may create more
    In the following detailed description of some possible than one special mobile telephone network identification
 embodiments, other features and advantages of the invention 35 code)          different from a normal mobile telephone network
                                                                       identification   code, called IC1. Then the operator configures
 will appear, each description being made with reference to the its mobile telephone            network in Such a way that some base
 following drawings:                                                   stations  107  (in general the majority of them) transmit a radio
    FIG. 1 is a schematic diagram illustrating an embodiment defining signal comprising               the normal mobile telephone net
 of a mobile system according to the invention;                        work identification code and the selected base stations 105 (in
    FIG. 2 is a schematic diagram illustrating another embodi 40 general a minority of them) transmit a distinctive defining
 ment of a mobile system according to the invention;                   signal comprising a special mobile telephone network iden
    FIG. 3 is a schematic diagram illustrating another embodi tification code.
 ment of a mobile system according to the invention;                      The checking data (i.e. IC2) is stored into an internal
    FIG. 4 is a flow chart illustrating partly an embodiment of mobile station database included in mobile station 100 stor
 a method according to the invention;                               45 ing means, this mobile station 100 being associated to this
    FIG.5 is a flow chart illustrating another part of an embodi special area. The same checking data is sent to any mobile
 ment of a method according to the invention;                          station whose presence in this special area is monitored.
    FIG. 6 is a schematic diagram of a part of an operating               The mobile station 100 contains observing means and pro
 parameters database in an embodiment of the invention;                cessing means for determining that the distinctive defining
    FIG. 7 is a schematic diagram of a part of another operating 50 signal transmitted by any base station 105 is received. These
 parameters database in an embodiment of the invention.                processing means include means for using the checking data
                                                                       that include, in this embodiment, comparing means. Thanks
                   DETAILED DESCRIPTION                                to these comparing means, the mobile telephone network
                                                                       identification codes received by the mobile station are com
    A mobile telephone network includes a large number of 55 pared to IC2 stored into the internal mobile station database:
 base stations and all the data processing means required to If the mobile station is in a position like the position (a) in
 provide the telecommunication service to each mobile station FIG. 1, i.e. inside the special area, the mobile telephone
 serviced by the mobile telephone network. The mobile tele network identification code received is equal to IC2 and
 phone network may be cellular or not.                                 therefore the mobile station 100 determines that it is into the
    In this description and in the claims, it is Supposed, in the 60 special area. Otherwise, if the mobile station 100 is in position
 case that the mobile telephone network is cellular, that each like the position (b) in FIG. 1, i.e. outside the special area, the
 base station of the cellular mobile telephone network is asso mobile station 100 receives a defining signal containing 101
 ciated to a unique cell. Therefore, Some base stations of the different from IC2 and determines that it is not receiving any
 cellular mobile network can be located in the same location           distinctive defining signal and therefore that it is not into the
 and share technical means. For example, a tower may incor- 65 special area.
 porate three sets of antennas, each set being part of a different        For example, if the mobile station 100 is a GSM mobile
 base station of the same mobile network.                              station operating into a GSM mobile telephone network, the
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 mobile station 100 has the capability to store the received            RBU identification data is comprised into the RBU signal,
 mobile telephone networks identification codes into a mobile           the wireless device receives, through the RBU signal from
 station 100 memory. In that case, the mobile station 100 may              the RBU, the RBU identification data that are included
 access to Such internal memory to get data to determine,                  into a RBU identification database of the wireless
 together with the checking data (i.e. IC2), whether or not it is          device.
 receiving any distinctive defining signal.                             The storage of the RBU identification data into the wireless
    With the exception of the processes concerning the inven device RBU identification data database may be done at the
 tion, a special mobile telephone network identification code Wireless device configuration stage. In the particular example
 (IC2) is equivalent, from the perspective of both the mobile of FIG. 2 and the wireless device 212, the RBU is a base
 station and the mobile telephone network, to a normal mobile 10 station 205 of the mobile telephone network, the RBU iden
 telephone network identification code (IC1). In this context, tification data is a base station identification code. The wire
 processes such as network selection, selection/reselection of less device 212 is authenticated into the mobile telephone
 base stations and handover will not be influenced because           network comprising the base station 205 and may receive the
 Some base stations transmit IC1 and some other transmit IC2,        base station signal 220 when it is located within the range of
 Such lack of influence meaning that all the mobile station and 15 coverage 204 of the base station 205.
 the mobile telephone network processes (except the pro                 In a second example of embodiment of the special area
 cesses concerning the invention) will be handle as if IC1 and location monitoring means, the reliable information com
 IC2 would be the same code.                                         prised into the wireless signal confirms that the wireless
    For example, a mobile telephone network operator can use device is effectively located into a predetermined geographi
 this embodiment of the invention to offer one set of normal         cal environment defined by the operator of the mobile tele
 billing rates in an urban environment of a country, and another phone network when it is physically connected to any fixed
 set of special billing rates for a rural environment. Another network connection points defined by the operator of the
 example of the application of this embodiment of the inven mobile telephone network for the special area and it is also
 tion is for a mobile telephone network operator to offer nor authenticated into the said fixed network through any of the
 mal billing rates for the whole country except in industrial 25 mentioned fixed network connection points. In this embodi
 areas or business districts.                                        ment, the wireless device also comprises means for commu
    FIG. 2 is a schematic diagram illustrating an example of nicating with the fixed network. Inaparticular example of this
 another embodiment of a mobile system according to the embodiment, some parameters are stored into the wireless
 invention wherein the radio communication defining device device during its configuration stage and Such parameters are
 is a wireless device (212 or 212b), e.g. a WIFI, Bluetooth or 30 used by the wireless device to perform the said authentication
 DECT device, the radio distinctive defining signal that process into the fixed network.
 defines the special area is a distinctive wireless signal 214 or       These connection points may be PSTN ('Public Switching
 214b (e.g. a WIFI, Bluetooth or DECT signal) transmitted by Telephony Network) connectors for ADSL network services
 the wireless device (212 or 212b) in a frequency range outside or electrical sockets for PLC (Power Line Communication)
 the frequency range allocated for the mobile telephone net 35 home network services for example: In the particular example
 work. A mobile station 200 whose presence in the special area of FIG. 2 and the wireless device 212b, the wireless device
 is monitored includes observing means and processing means 212b has to be connected to a connection point 230 of a fixed
 for determining whether or not any defining signal is received network and authenticated in this fixed network so that the
 in the frequency range used by the wireless device.                 reliable information comprised into the wireless signal 214b
    Each distinctive wireless signal contains wireless device 40 confirms that the wireless device is effectively located into a
 identification data and reliable information confirming that its predetermined geographical environment.
 transmitting wireless device (212 or 212b in FIG. 2) is effec          In a third example of an embodiment of the special area
 tively located into a predetermined environment. The check location monitoring means (not illustrated in FIG. 2), the
 ing data comprises a set of at least one wireless device iden reliable information comprised into the wireless signal con
 tification data.                                                 45 firms that the wireless device is effectively located into a
    The predetermined environment may be one or more spe predetermined physical environment defined by the operator
 cific geographical locations (for example several fixed points of the mobile telephone network when:
 into a restaurant) or a physical environment that can be mobile        the wireless device is physically connected to a system
 (for example a car, a plane or a boat). The predetermined                 registered and authorised by the mobile telephone net
 environment is defined by the operator of the mobile tele 50              work operator for the purposes of the invention and
 phone network.                                                         the wireless device is authenticated into the mentioned
    The distinctive wireless signals are preferably coded and              system.
 the mobile station processing means include decoding means             In a particular example of this embodiment some param
 to decode the wireless signals received.                            eters are stored into the wireless device during its configura
    The mobile system comprises special area location moni 55 tion stage and Such parameters are used by the wireless device
 toring means for monitoring the correct location of any wire to perform the referred authentication process into the sys
 less device that may transmit a distinctive wireless signal into tem. This system may be, in an example, embedded in a
 this predetermined environment and therefore for monitoring mobile device Such as a car or a boat.
 at least a part of the special area.                                   More precisely, FIG. 2 shows a geographical area 202
    In a particular embodiment of the special area location 60 covered by a mobile telephone network of an operator, the
 monitoring means, the reliable information comprised into radio coverage of the mobile telephone network in this geo
 the wireless signal confirms that the wireless device is effec graphical area 202 being the addition of the radio coverage of
 tively located into a predetermined geographical environment several base stations 205 and 207. The mobile telephone
 defined by the operator of the mobile telephone network network includes a server according to the invention compris
 when:                                                            65 ing special operating means. In this embodiment, a wireless
    the wireless device able to receive a RBU signal from at device 212 is located in a geographical environment agreed
       least one radio broadcasting unit (RBU)                       between the operator and the user, such as for example near to
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 the user's house or near his/her work place. The wireless prising an identification code that identifies this base station,
 device 212b is located either into a geographical environ the checking data includes a set of at least one base station
 ment, such as for example the user's home, or into a physical identification code.
 environment, which may be mobile. Such as for example the            FIG.3 shows a geographical area 302 covered by a mobile
 user's car, Such environments being agreed between the telephone network of an operator, the radio coverage of the
 operator and the user.                                            mobile telephone network in this geographical area 302 being
    The checking data associated to a special area is stored into the addition of the radio coverage 304 and 306 of several base
 an internal mobile station database included in a memory astations  server
                                                                            305 and 307. The mobile telephone network includes
                                                                            according to the invention comprising special oper
 (storing means) of a mobile station 200 associated to this 10 ating means.
 special area.                                                        Any mobile station 300 whose presence in the special area
    Processing means comprised in the mobile station 200 is monitored
 compare any wireless device identification data received with for observingincludes     observing means and processing means
                                                                                 and processing the base station identity signal
 the checking data stored in its internal mobile station database of the mobile telephone network base stations 305 and 307.
 and determines that a wireless signal received is a distinctive 15 The checking data is stored into an internal mobile station
 wireless signal when:                                             database included in a memory (storing means) of a mobile
    Such wireless signal is coded in a format predefined for a station 300 associated to this special area.
      distinctive wireless signal and                                 Processing means of the mobile station 300 process the
    the wireless device identification data comprised into the base stations identity signals received and compare their base
      wireless signal is equal to at least one of the wireless station identification codes to the checking data and deter
      device identification data stored into the internal mobile    mine that at least one distinctive base station identification
      station database and                                          code signal is received (i.e. the mobile station 300 is in posi
    the reliable information comprised into the wireless signal     tion (a)) when any of the base station identification codes
       confirms that the wireless device is effectively located     received is equal to at least one of the base station identifica
       into a predetermined environment.                        25 tion codes stored into the internal mobile station database and
    Otherwise the mobile station 200 determines that the wire      otherwise determine that it is not receiving any distinctive
 less signal received is not a distinctive wireless signal.        base station identification code signal (i.e. the mobile station
    In the embodiment illustrated by the FIG. 2, the sum of the 300 is in position (b)).
 coverage (203, 203b) of the wireless devices 212 and 2.12b 30 For example, when a GSM mobile station is operating into
 transmitting distinctive wireless signals 214 and 214b defines a300 GSM mobile telephone network, the GSM mobile station
                                                                        receives the identification code of the active base station
 a special area for the mobile station 200 according to the and also        the identification codes of some available neighbours
 invention.
                                                                   base stations.
    Transmission means for sending an updating signal regard process the base     The GSM mobile station 300 may consequently
                                                                                     station identification codes received to deter
 ing the presence of the mobile station 200 in the special area 35 mine, together with    the checking data, whether or not it is
 (203, 203b) from the processing means to the special operat receiving any distinctive base station identification code sig
 ing means are partly comprised in the mobile station 200 and nal.
 in the mobile telephone network. The updating signal may             The sum of the coverages 304 of the base stations 305
 comprise the result of the last determination performed by the transmitting distinctive base station identification code sig
 mobile station about its presence into the special area. In 40 nals defines a special area for the mobile station 300 accord
 another embodiment, the reliable information related to           ing to the invention.
 whether or not the wireless device 212 or 212b is or not             In this embodiment, an operator of a mobile telephone
 effectively located into its predetermined environment is also network covering a geographical area 302 may offer special
 included into the updating signal.                                services to the user of a mobile station 300 if he uses his/her
    In this embodiment, an operator of a mobile telephone 45 mobile station 300 within the range of coverage of the base
 network covering a geographical area 202 may offer cheaper Stations 305.
 rates, called special billing rates, to the user of a mobile         As an example a mobile telephone network operator can
 station 200 if he uses his/her mobile station 200 within the       use this embodiment of the invention to offer one set of
 range of coverage 203 of the wireless device 212 (position (a) normal billing rates in an urban environment of a country, and
 of the mobile station 200) or within the range of coverage 50 another set of special billing rates for a rural environment.
 203b of the wireless device 212b (position (b) of the mobile Another example of the application of this embodiment of the
 station 200).                                                  invention is for a mobile telephone network operator to offer
    As an example, a mobile telephone network operator can normal billing rates for the whole country except in industrial
 use this embodiment of the invention to offer one set of           areas or Small towns.
 special billing rates in premises associated to the user of the 55 Any combination of the embodiments of a mobile system
 mobile station 200 as may be houses, cars or boats, and according to the invention described herein is another
 another set of normal billing rates for the rest of the environ embodiment here below of a mobile system according to the
 ments where the user may use the mobile station 200. Another invention. That combination can be the result from N dif
 example of the application of this embodiment of the inven ferent distinctive defining signals, each one comprising a
 tion is for a mobile telephone network operator to offer nor 60 different special mobile telephone network identification
 mal billing rates for the whole country except in industrial code or a different wireless device identification data or a
 areas, airports or restaurants.                                   different base station identification code.
    FIG. 3 is a schematic diagram illustrating an example of          For example, the mobile telephone network operator can
 another embodiment of a mobile system according to the then propose N different sets of rates for N different kinds
 invention wherein the radio communication defining device 65 of special areas for a given mobile station. In an example, an
 is a base station, the radio defining signal that defines the operator installs in the user's house a wireless device whose
 special area is a distinctive base station identity signal com position is controlled by being or not in the range of coverage
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 of a particular base station of the mobile network, another           station identifier. In the parameters database, each mobile
 wireless device whose position is controlled by its connection        station identifier is associated with special tariffs and/or ser
 to a fix network in the user's holiday cottage and a third            vices which may be or not available for the mobile station
 wireless device whose position is controlled by its connection        depending on the presence of such mobile station into a given
 to a system embedded in the user's car. The operator creates          special area (and also depending on whether Such tariffs
 a special mobile telephone network identification code trans          and/or services are enabled or disabled into the parameters
 mitted by the all the base stations of the user's city. Then the      database for such mobile station).
 operator stores in the storing means of the user's mobile                The operating parameter(s) that may be adapted depending
 station the three wireless devices identification data, the           on  the presence of the mobile station in one or more special
 user's city special mobile telephone network identification 10 areas         at the same time may be notably related to activation or
 code and several sets of base stations identification codes,
 each set being the set of identification of base stations cover mobile stationflags
                                                                       deactivation          of tariffs and/or services provided to the
                                                                                        by the mobile telephone network. Therefore,
 ing public places like airports and train stations. Then, the
 operator can adapt the tariffs charged and the services pro tariffs may be more or less expensive for the said mobile
 vided to the user depending notably whether his/her mobile 15 station in predetermined special areas and/or the mobile sta
 station is in its city or outside, in its house, holiday cottage or tion may be able or unable to use predetermined services
 car and/or in public places.                                          offered by the operator of the mobile telephone network in
    An embodiment of a method for monitoring the presence predetermined special areas.
 of a mobile station in at least one special area according to the        In step 408, the special operating means send a checking
 invention may include at least three parts:                           data to the mobile station.
    a first part, illustrated in FIG. 4, that includes the steps          The checking data transmission can notably be done:
       needed to Successfully transmit, store, erase and main             1) by sending the checking data stored in a server of the
       tain checking data in a mobile station according to the               mobile telephone network to the mobile station through
       invention,                                                            the mobile telephone network transmission channels. In
    a second part, illustrated in FIG. 5, that includes the steps 25         a particular example, the mobile telephone network is a
       needed for the mobile station to monitor its location in              GSM network and the checking data from the server will
       the special areas using the checking data that were trans             be sent to the mobile station via encrypted short mes
       mitted to it and                                                      sages using an Over the Air platform. The mobile sta
    a third part, illustrated in FIGS. 6 and 7, that includes the            tion is able to decode the short messages and to store the
       adaptation of the operational parameters depending on 30              checking data into an internal mobile station database,
       the presence of the mobile station in any special area             2) through the use of a mobile station special software able
       where this mobile station is monitoring its presence.                 to store into an internal mobile station database checking
    This embodiment of such method according to the inven                    data obtained by the mobile station from at least one
 tion may be carried out for example using any of the embodi                 radio communication defining device. In a particular
 ments of mobile systems according to the invention described 35             example, it may be necessary that an operator's repre
 before.                                                                     sentative introduces a password to allow the mobile
    FIG. 4 is a flowchart of the first part 400 of a method                  station special software to operate. The mobile station
 according to one embodiment of the invention for Success                    special Software may ask the operator's representative to
 fully transmit, store, erase and maintain checking data in a                validate the storage of the checking data through the
 mobile station according to the invention.                         40       mobile telephone keyboard,
    A mobile telephone network comprises in this embodiment               3) or via a person (e.g. an operator's representative) who
 data processing means that includes special operating means;                enters the checking data into the mobile station using the
 the special operating means are included in a server and                    mobile station keyboard.
 therefore are advantageously centralised and not distributed             Regarding the second option, two examples are provided.
 between each base station of the mobile telephone network. 45 In a first example, the mobile station is operating in a GSM
    An operator of a mobile telephone network (i.e. the com            network, the mobile station obtains from the active cell its cell
 pany that operates this mobile telephone network) wishes to identification code and from other neighbouring cells, if
 propose special billing rates and/or special services to users available, their cell identification codes. When the special
 of its mobile telephone network, each user carrying a mobile software is run for example in the user's home, it is able to
 station, when said users are within special areas of the inven 50 obtain such cells identification codes and store them in the
 tion.                                                                 internal mobile station database of checking data, associating
    The part 400 of this embodiment starts in step 402 when the them with the user's home special area.
 operator wishes to monitor the presence of a mobile station in           In a second example, the mobile station can obtain, by
 a special area.                                                       using a WIFI device embedded into the mobile station, neigh
    In step 404, the operator defines a new special area if the 55 bouring WIFI devices identification data. When the special
 operator wishes to create a new one. The special areas may be software is run for example in the user's home, it is able to
 agreed between the operator and the user or simply defined by obtain such WIFI device identification data and store them in
 the operator.                                                         the internal mobile station database of checking data, associ
    The definition of the special area can be done by the cov ating them with the user's home special area.
 erage of one or several radio defining signals or by the inter 60 Once the checking data has been Successfully stored into
 section of the coverage of two or more radio defining signals. the internal mobile station database, a confirmation of new
    In step 406, the operator updates a parameters database checking data is sent to the parameters database. In addition,
 included in the special operating means. The parameters data notably regarding to the second and third options to transmit
 base associates each special area defined with the mobile checking data to the mobile station, the stored checking data
 stations whose presence in Such special area is monitored. For 65 may be sent by the mobile station to the parameters database
 the purposes of Such association, each mobile station is iden through the mobile telephone network for the mobile tele
 tified into the parameters database by means of a mobile phone network to know this checking data.
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    In step 410, the special operating means wait for the con        is received (possibility 440) by the operating means, the oper
 firmation of new checking data from the mobile station. Once        ating means know in step 416 that the mobile station updated
 the information is received, it is stored into the parameters       its internal checking data database and the internal mobile
 database and the special operating means transmit an                station database is in accordance with the operator wishes.
 acknowledgment to the mobile station. In case the mobile               In another hand, in this embodiment of a method according
 station does not receive the acknowledgment after a certain         to the invention, the operator can modify a special area fol
 time, the mobile station sends the confirmation of new check        lowing the steps 450 to 460 to adapt the internal mobile
 ing data again until it receives the acknowledgment or until it station database to the operators wishes. In step 450, the
 resents the information up to a maximum number of times.            operator chooses to modify a special area for a given mobile
    It is advantageous to store the checking data into the mobile 10 station, with or without the agreement of the mobile station
 station, mainly in comparison to the prior art where it was user, and defines such modified special area. For example,
 necessary to store mobile station identity codes and/or acti this can be done by including in the checking data associated
 Vation signals into a fix unit.                                     to one special area, Some additional checking data for the
    If the confirmation of new checking data is not received special area being not only the coverage of one distinctive
 (possibility 412) by the special operating means, the special 15 defining signal but the intersection (or the Sum) of the cover
 operating means transmit again the checking data to the age of the former one and the coverage of a new one. This can
 mobile station (step 408).                                          be done too by erasing in a set of checking data associated to
    When the confirmation of new checking data from the one special area, some checking data in order to, for example,
 mobile station is received (possibility 414) by the special transform a special area defined as the intersection (or the
 operating means, the special operating means know in step Sum) of the coverage of two distinctive defining signals into a
 416 that the mobile station updated its internal mobile station special area defined as the coverage of one only distinctive
 database and the internal mobile station database is in accor       defining signal.
 dance with the operator wishes.                                        In case the operator wishes to add a new checking data (the
    After the first special area checking data or set of checking steps for erasing one can be easily inferred by analogy), in
 data is stored in the internal mobile station database, the 25 step 452, the operator updates the parameters database in
 operator can add more in the same way.                              order to include, if known, the new checking data associated
    In another hand, in this embodiment of a method according to the mobile station and the modified special area.
 to the invention, the operator can deactivate a special area           In step 454, the special operating means send, by using any
 following the steps 430 to 440.                                     of the three options for transmitting checking data described
    In step 430, the operator chooses to deactivate a special 30 in step 408, the new checking data to the mobile station using
 area for a mobile station, with or without the agreement of the the mobile telephone network.
 mobile station user. In step 432, the operator deactivates into        Once the new checking data has been successfully stored
 the parameters database all the special tariffs and/or services into the part of the internal mobile station database that con
 associated to the presence of the mobile station into the spe tains the checking data linked to the special area that has to be
 cial area. In step 434, the special operating means transmit a 35 modified, a confirmation of modification of checking data is
 deactivation signal to the mobile station (using the mobile sent to the parameters database. In addition, typically regard
 telephone network) asking the mobile station to erase, into its ing to the second and third options to transmit checking data
 internal mobile station database, the checking data associated to the mobile station described in step 408, the stored new
 with the special area that the operator wishes to deactivate.       checking data may be sent by the mobile station to the param
    In another embodiment, the deactivation signal just blocks 40 eters database through the mobile telephone network. In step
 into the mobile station the use of the special area checking 456, the special operating means wait for the confirmation of
 data but does not erase it. The result is the same: the deacti      modification of checking data from the mobile station. Once
 Vation signal avoids the mobile station recognising the special the confirmation of modification is received, this fact is stored
 area(s) associated with this deactivation signal.                   into the parameters database and the special operating means
    The transmission of the deactivation signal may be done 45 transmit an acknowledgment to the mobile station. In case the
 notably as in the first and third options for transmitting the mobile station does not receive the acknowledgment after a
 checking data (as seen in description of step 408).                 certain time, the mobile station sends the information again
    Once the deactivation signal has been Successfully until it receives the acknowledgment or, in another embodi
 received and processed by the mobile station, a confirmation ment, until it resents the information up to a maximum num
 of deactivation is sent to the parameters database. In step 436, 50 ber of times.
 the special operating means wait for the confirmation of deac          If the confirmation of modification of checking data is not
 tivation from the mobile station. Once the confirmation of          received (possibility 458) by the special operating means, the
 deactivation is received by the special operating means (pos special operating means send again the new checking data to
 sibility 440), this fact is stored into the parameters database the mobile station (step 454).
 and the special operating means transmit an acknowledgment 55 When the confirmation of modification sent from the
 to the mobile station. In case the mobile station does not          mobile station is received by the special operating means
 receive the acknowledgment after a certain time, the mobile (possibility 460), the special operating means know that in
 station sends the confirmation of deactivation again until it step 416, the mobile station updated its internal checking data
 receives the acknowledgment or, in another embodiment, database and the internal mobile station database is in accor
 until it resents the confirmation of deactivation up to a maxi 60 dance with the operator wishes.
 mum number of times.                                                   The second part of this embodiment of a method according
    If the confirmation of deactivation is not received (possi to the invention is illustrated in FIG. 5 and includes the steps
 bility 438) by the special operating means, the special oper        needed for the mobile station to monitor its location in the
 ating means transmit again a deactivation signal to the mobile special areas using the checking data that were transmitted
 station (step 434).                                              65 into it.
    When the confirmation from the mobile station regarding             In step 500, a mobile station is switched on. In an embodi
 the Successful reception and process of the deactivation signal ment, the mobile telephone network sets the values of the
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 operating parameters managed in the parameters database to                If the mobile station processing of the defining signals
 a set of initial values when the mobile station is switched off              received in a certain moment determines that at least one
 (as at that time it is not present in any special area) in order to          distinctive defining signal associated to this special area
 start operating the mobile station when it is just Switched on.              is received:
 In step 510, the mobile station observes, through the appro                  If the previous processing of the defining signals
 priate channel(s), any signal received and process it to deter                  received determined that no distinctive defining sig
 mine whether or not it is receiving any defining signal from                    nal associated to this special area was received at that
 radio communication defining devices (e.g. from the base                        time then the mobile station interprets that it has
 stations of a mobile telephone network or from wireless 10                      recently entered into this special area.
 devices).                                                                    If the next processing of the defining signals received
    In one embodiment, the defining signal is coded (or part of                  determines that at least one distinctive defining signal
 the data contained in Such a defining signal). In this embodi                   associated to this special area is still being received
 ment, the mobile station is able to decode the information as
                                                                                 then the mobile station interprets that it remains
 part of the processing of the defining signals received.                        located into this special area;
                                                                      15   If the mobile station processing of the defining signals
    A radio defining signal from a radio communication defin received in a certain moment determines that no distinctive
 ing device may be transmitted on a continuous or periodical defining signal associated to this special area is received:
 basis. The mobile station observation as to whether or not it is           If the previous processing of the defining signals received
 receiving any defining signal can be continuous or periodical.                determined that at least one distinctive defining signal
 In step 512, the mobile station decide if it receives a defining              associated to this special area was received at that time
 signal (possibility 516) or not (possibility 514) after observ                then the mobile station interprets that it has recently left
 ing and processing any signal received.                                       this special area.
    When one or several defining signals are received, they are             If the next processing of the defining signals received deter
 processed in step 518 by the mobile station notably in order to               mines that no distinctive defining signal associated to
 compare, in this embodiment, the appropriate part of their 25                 this special area is still being received then the mobile
 content with any checking data stored in the internal mobile                  station interprets that it remains out of this special area.
 station database.                                                          For a special area defined by the intersection of the cover
    When a defining signal received is from a wireless device age of several distinctive defining signals a procedure equiva
 (transmitted in a frequency range outside the frequency range lent to the one above can be easily inferred by analogy.
 allocated for the mobile telephone network), the mobile sta 30 The updating signal may be sent through a diversity of
 tion preferably also search in step 518 whether or not the channels provided by the mobile telephone network. For
 defining signal received contains reliable information con example, in a GSM mobile network, the updating signals can
 firming (or not) that the wireless device is effectively located be sent using the USSD (Unstructured Supplementary Ser
 into a predetermined environment defined by the operator of vice Data, GSM standards) channel. The data comprised into
 the mobile telephone network.                                        35 the updating signal will typically be coded by the mobile
    Then, in step 520, depending on the result of the internal station and decoded by the special operating means of the
 process carried out in step 518, the mobile station decides SeVe.
 whether (possibility 524) or not (possibility 522) the defining            In this embodiment, the updating signals are sent from the
 signal received is a distinctive defining signal that defines a mobile station to the special operating means of the mobile
 special area for this mobile station, therefore validating or not 40 telephone network requesting an acknowledgement from the
 the defining signal received as a distinctive defining signal.          special operating means.
    If the special area is defined by the sum of the coverage of            In step 530, the mobile station search for the acknowledg
 several distinctive defining signals, the mobile station has to ment from the special operating means.
 recognize at least one of the three distinctive defining signals           If the acknowledgement is not received in the mobile sta
 at one time in order to determine that it is into this special area. 45 tion (possibility 532) because the updating signal does not
    In another example, the mobile station knows that it is into reach the special operating means or the mobile station
 a special area defined as the intersection of the coverage of detects a failure in the transmission of the updating signal or
 several distinctive defining signals when it is observing and there is a failure in the transmission of the acknowledgment,
 recognizing at one time all these distinctive defining signals. then the mobile station may send the updating signal again up
    The mobile station may be prepared to display a text or an 50 to a predetermined number of times according to a predefined
 icon (e.g. home or airport icon) when the mobile station retransmissions policy.
 determines that it is included in a particular special area for            When the acknowledgment is received (possibility 531)
 this mobile station.                                                    into the mobile station, the mobile station knows in step 534
    In step 526, the mobile station sends and updating signal to that the special operating means will make the appropriate
 the mobile telephone network about its presence in the special 55 adaptations in the operating parameters of the special areas
 aca.                                                                   database.
    In a particular embodiment, the mobile station sends peri            More generally, the special operating means area waiting
 odically (for example every 30 seconds) an updating signal for any updating signal from any mobile station whose iden
 about its presence into a special area, such updating signal tification code is into the parameters database. When the
 comprising the result of the last determination performed by 60 special operating means receive an updating signal from a
 the mobile station about its presence into the special area.         mobile station, they then adapt the operational parameters of
    In another particular embodiment the mobile station only the special areas database that depend on the presence of this
 sends to the mobile telephone network an updating signal mobile station. In a special area associated with this mobile
 about its presence into a special area when it enters into or exit station and send the acknowledgement.
 from Such special area.                                           65    In one embodiment, the updating signal contains a request
    For a special area defined by the sum of the coverage of to access to services and/or to download contents provided
 several distinctive defining signals:                                direct or indirectly by the mobile telephone network of the
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 operator. Then, an access or downloading right is granted or           In this example, the set of checking data of mobile station
 denied by the mobile telephone network depending on the MS(i) for the special area SA1606, defined in the column
 presence of the mobile station in a special area.                   610/606 of the entry 604 contains:
    The acknowledgment signals of the updating signal from              a checking data 650 comprised into the distinctive defining
 the special operating means are preferably coded. In that case, 5         signal of a first base station BS1 (e.g. the identification
 the mobile station processing means are able to decode the                code of BS1), such distinctive defining signal defines the
 acknowledgments of the updating signals.                                  special area SA1606,
    The operator of the mobile telephone network has there              a checking data 652 comprised into the distinctive defining
 fore a guarantee that the mobile telephone network will know 10           signal of a second base station BS2 (e.g. the identifica
 at least a change on the presence of the mobile station in one            tion code of BS1), Such distinctive defining signal also
 or more special areas even if the radio communication link                defines the special area SA1606, and
                                                                        a checking data 654 comprised into the distinctive defining
 between the mobile station and the mobile telephone network               signal of a wireless device WD1 (e.g. the identification
 is temporarily unavailable.                                               data of WD1), such distinctive defining signal also
    In a particular embodiment the mobile telephone network 15             defines the special area SA1606,
 may enable or disable to the mobile station to use predeter for the special area SA1. The mobile station determines that it
 mined services depending on the presence of the mobile is located into the special area SA1 606 when it receives at
 station into a special area.                                        least one of the three identifiers 650, 652, 654 comprised into
    As an example, the mobile station may incorporate special the distinctive defining signals coming from BS1, BS2 and
 checking Software able to generate statistics about the use of WD1, i.e. when it is located within the range of coverage of
 the mobile telephone (phone calls, messages, etc.) into spe any of the three distinctive defining signals (according to one
 cial areas. This software may be enabled for operation by the of the embodiments of the invention, in the case of the defin
 mobile telephone network when the mobile station enters into ing signal of WD1, in order to consider that such defining
 a predetermined special area and disabled when the mobile signal is a distinctive defining signal, it will additionally be
 station exits such special area.                                 25 necessary that the reliable information comprised into the
    As another example, the mobile telephone network may defining signal confirms that WD1 is effectively located into
 broadcast certain messages associated to a special area (e.g. a predetermined environment).
 airport information). The mobile station can be enabled by the         In this example, the value of column 611/606 for the
 mobile telephone network to accept and display those broad mobile station MS(i) and for the special area 606 is enabled
 casted messages when it is located within this special area and 30 (+) or disabled (-) at a given time depending on whether or
 disabled when it exits the special area.                            not the mobile telephone network receives a confirmation of
    The third part of this embodiment of a method according to new checking data (see description of FIG. 4) from this
 the invention is illustrated in FIGS. 6 and 7 and includes the      mobile station confirming that all the checking data corre
 adaptation of the operational parameters to the presence of sponding with the special area has been stored into this
 the mobile station in any special area where this mobile 35 mobile station (based on the same principle, it would also be
 station is monitoring its presence.                                 possible to add another column in the parameters database to
    When the mobile telephone network receives an updating monitor the reception of confirmations of deactivation of
 signal, the special operating means of the server adjust the checking data and another one to monitor the reception of
 value of at least one operating parameter of a parameters confirmations of modification of checking data for a given
 database linking the special area and the mobile station. The 40 special area see description of FIG. 4).
 value of the operating parameter(s) depends on the informa             In this example, the value of column 611/606 for MS(i) is
 tion contained into the updating signal about the presence of enabled (+) for the special area SA1606. In another example,
 the mobile station into the special area.                           the value of column 611/606 for the mobile station MS (i) and
    In a particular example, operating parameters related to a for the special area 606 contains a set of values enabled (+)
 special tariff and some services are enabled or remains 45 or disabled (-), one for each checking data.
 enabled into the referred parameters database when the infor           The column 612/606 corresponding to the operating
 mation contained into the updating signal indicates that the parameter “Mobile Station Control Flag” is enabled (+) or
 mobile station has recently entered or remains located into the disabled (-) at a given time for the mobile station MS (i) and
 special area. In the same example, the special tariff and the for the special area SA1 606 depending on the information
 services are disabled or remains disabled into the referred 50 comprised into the updating signals received about the pres
 parameters database when the information contained into the ence of the mobile station into the special area 606. In this
 updating signal indicates that the mobile station recently left example, at a given time, the mobile station MS(i) is Supposed
 or remains out of the special area.                                 to be in SA1606 as the operating parameter “Mobile Station
    More precisely, FIG. 6 is a schematic illustration of an Control Flag 612/606 is enabled (+).
 example of a part of the parameters database 600 of operating 55 When the “Mobile Station Control Flag” is enabled (+) at
 parameters included in the special operating means according a given time for the mobile station MS(i) and for the special
 to an embodiment of the invention. The illustrated part of the area 606, certaintariffs or services related to such special area
 special operating means database 600 links two special areas may be available for the user of the mobile station depending
 SA1 606 and SA2 608 with 3 mobile stations identification           on the value (+) or (-) of the corresponding tariff or service
 codes MS(i-1), MS(i) and MS(I+1), each of which having an 60 flags for Such mobile station and special area into the operat
 entry 603, 604 and 605.                                             ing parameters database. In this example, at a given time, in
    The column 602 of the database comprises the mobile the column Tariff identifier 614/606, the parameter is then
 stations identification codes. A mobile station identification      set at XXX and in the column 616/606, the Tariff Flag is
 code refers to a code that is associated with the subscription of enabled (+). In the column 618/606, the Service identifier
 the mobile station user into the mobile telephone network. As 65 parameter is then set at YYY and in the column 620/606, the
 an example, in a GSM network the referred mobile station             Service Flag of said service YYY is enabled (+). In the
 identification code may be the MSISDN.                              column 622/606, the Service identifier parameter is set at
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  ZZZ and in the column 624/606, the Service Flag of said                In some cases the switch server is entirely property of the
 service ZZZ is disabled (-) because service ZZZ is dis               mobile telephone network operator while in some others
 abled at that time for the mobile station MS(i) and the special      there is an agreement in place with a third party.
 area SA1. 606.                                                          Although the present invention has been described in detail
    The set of columns 610/608 to 624/608 provides the same 5 for purpose of illustration, it is understood that such detail is
 kind of information for the special area SA2 608. The set of solely for that purpose, and variations can be made therein by
 checking data of mobile station MS(i) (column 610/608) those skilled in the art without departing from the scope of the
 refers to wireless devices WD1 with the checking data 656, invention. Thus, while the preferred embodiments of the
 WD2 with the checking data 658 and WD3 with the checking method and of the mobile system have been described in
 data 660 for the special area SA2 608. In this special area, at 10 reference to the environment in which they were developed,
 that time, the value of column 611/608 for MS(i) is disabled they are merely illustrative of the principles of the invention.
 (-), the operating parameter “Mobile Station Control Flag” Other embodiments and configurations may be devised with
 (column 612/608) is disabled (-). Tariff PPP (column out departing from the scope of the appended claims.
 614/608) is enabled (+ in column 616/608), service QQQ                  Further, although the embodiments of the invention
 (column 618/608) is enabled (+ in column 620/608) and 15 described with reference to the drawings comprise computer
 service RRR (column 622/608) is enabled (+ in column apparatus and processes performed in computer apparatus,
 624/608). The tariff PPP and the services QQQ and RRR are the invention also extends to computer programs, particularly
 associated to mobile station MS(i) when it is in the special computer programs on or in a carrier, adapted for putting the
 area SA2 608.                                                        invention into practice. The program may be in the form of
    In another embodiment of the invention, the special oper Source code, object code, a code intermediate source and
 ating means are distributed into different servers of the object code Such as in partially compiled form, or in any other
 mobile telephone network or of service providers associated form suitable for use in the implementation of the processes
 with the mobile telephone network and an updating signal according to the invention. The carrier may be any entity or
 may be sent to any of those servers.                                 device capable of carrying the program. For example, the
    In a particular example of this embodiment, there will be a 25 carrier may comprise a storage medium, Such as a ROM, for
 server containing a part of the special operating means that example a CD ROM or a semiconductor ROM, or a magnetic
 stores a parameters database (e.g. the database illustrated in recording medium, for example a floppy disc or hard disk.
 FIG. 6) of operating parameters containing the special areas Further, the carrier may be a transmissible carrier Such as an
 checking data. In this example part of the updating signals electrical or optical signal which may be conveyed via elec
 from the mobile stations may be sent to this server of the 30 trical or optical cable or by radio or other means. When the
 mobile telephone network and processed by the part of the program is embodied in a signal which may be conveyed
 special operating means that this server contains.                   directly by a cable or other device or means, the carrier may
    In this example there will be at least another server, called be constituted by such cable or other device or means. Alter
 switch server, into the mobile telephone network or associ natively, the carrier may be an integrated circuit in which the
 ated to it, server that is including another part of the special 35 program is embedded, the integrated circuit being adapted for
 operating means that include another parameters database of performing, or for use in the performance of the relevant
 operating parameters, called Switch parameters database, that processes.
 does not contain checking data. The part of special operating           The invention claimed is:
 means included in this other server allows or forbids the               1. A method for monitoring the presence of a mobile station
 provision of some multimedia contents and applications 40 in one or more special areas associated with the mobile sta
 available to mobile stations (and may preferably provide tion, the method comprising:
 them itself) depending on the presence, in any special area             (a) repeatedly transmitting from at least one radio commu
 registered in this Switch parameters database, of any mobile               nication defining device a radio distinctive defining sig
 station associated with this special area in this Switch param             nal in at least one channel that at least partially defines
 eters database.                                                   45       one of the special areas by its coverage,
    FIG. 7 illustrates an example of a part of a switch param            (b) observing the channel and processing any received
 eters database 700 where 702, 703,704, 705, 706, 708, 712/                 signal by the mobile station in order to determine
 706 and 712/708 have the same meaning than respectively                    whether or not it is receiving a defining signal,
 602, 603, 604,605, 606, 608, 612/606 and 612/608 of FIG. 6.             (c) processing any received defining signal by the mobile
 The contents and applications AAA are available to the 50                  station and the mobile station determines whether or not
 mobile station MS(i) when it is into the special area SA1706.              the defining signal received is a distinctive defining sig
 The contents and applications BBB are available to the                     nal that at least partially defines one of the special areas,
 mobile station MS(i) when it is into the special area SA2 708.             and determines whether or not the mobile station is
    In the example of FIG. 7, the part of the special operating             present in one or more of the special areas,
 means included into the switch server receives, embedded 55 (d) sending an updating signal from the mobile station to a
 into an updating signal from MS(i), a request to download a                mobile telephone network about the mobile station pres
 content oran application AAA, and the downloading right is                 ence in one or more of the special areas, where the
 granted because such updating signal from MS(i) also indi                  updating signal sending is uncorrelated to any mobile
 cates (value + in column 712/706) that it is located in the                station phone call establishment and is based on the last
 special area 706 at that time.                                    60       determination performed by the mobile station about its
    In the same manner, in the example of FIG.7, the part of the            presence in each of the special areas, and said updating
 special operating means included into the Switch server                    signal being sentat least one of (i) periodically, (ii) when
 receives, embedded into an updating signal from MS(i), a                   the mobile station enters into or exits from one of the
 request to download a content or an application BBB, but                   special areas, and (iii) when the mobile station remains
 the downloading right is not granted because such updating 65              into a special area,
 signal from MS(i) also indicates (value - in column 712/                (e) routing the updating signal from the mobile telephone
 708) that it is not located in the special area 708 at that time.          network to special operating means that adapt the value
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      of at least one operating parameter taking into account           11. A mobile system for monitoring the presence of a
      the presence of the mobile station in each of the special       mobile station in one or more special areas defined for this
      areas,                                                          mobile station, said system comprising:
   (f) associating the special areas with the mobile station by         at least one radio communication defining device for
      transmitting a checking data to the mobile station, this             repeatedly transmitting a radio distinctive defining sig
      checking data being sent to any mobile station whose                 nal that at least partially defines one of the special areas
      presence in the special areas is monitored and being used            in at least one channel,
      by the mobile station for determining whether or not the          special operating means for adapting the value of at least
      defining signal received is a distinctive defining signal            one operating parameter taking into account the pres
      that defines, alone or with other distinctive defining sig 10        ence of the mobile station in each of the special areas,
      nals, one or more of the special areas associated with the           and
      mobile station.
    2. The method according to claim 1 further comprising,              a mobile station, comprising:
 sending a deactivation signal from the mobile telephone net            storage for storing a checking data,
 work to the mobile station to stop the mobile station from 15          observing means for observing said at least one channel,
 recognizing a defining signal that defines the special area as a          and
 distinctive one in order to deactivate that special area for the    processing means for processing any received signal in
 mobile station.                                                        order to determine whether or not the signal received is
    3. The method according to claim 1 further comprising,              a defining signal and, if the signal received is a defining
 acknowledging the reception of the updating signal by the              signal, for determining based on the checking data
 special operating means and transmitting an acknowledge                whether or not the signal received is a distinctive defin
 ment signal from the special operating means to the mobile             ing signal and whether or not the mobile station is
 station.                                                               present in the special area,
    4. The method according to claim 1, wherein at least one         and the mobile station further comprising
 radio communication defining device is a wireless device 25 transmission means for sending, at least one of (i) periodi
 whose radio distinctive defining signal is a distinctive wire          cally, (ii) when the mobile station enters into or exits
 less signal transmitted by the wireless device in a frequency          from one of the special areas, and (iii) when the mobile
 range outside the frequency range allocated for the mobile             station remains into a special area an updating signal,
 telephone network, the distinctive wireless signal containing          that is uncorrelated to any mobile station phone call
 wireless device identification data and reliable information 30        establishment, regarding the presence of the mobile sta
 confirming that the wireless device is effectively located into        tion in one or more of the special areas from the process
 a predetermined environment, and the checking data associ              ing means to the special operating means.
 ated with this wireless device including the wireless device        12. The system according to claim 11, wherein the mobile
 identification data.                                              system comprises special area location monitoring means for
    5. The method according to claim 1, wherein at least one 35 monitoring the correct location of at least a part of one or
 radio communication defining device is a base station whose more of the special areas.
 radio distinctive defining signal is a distinctive signal com       13. A mobile station, comprising:
 prising a special mobile telephone network identification           observing means to observe a channel and process any
 code, the checking data associated with this base station              received signal in order to determine whether or not it is
 including this special mobile telephone network identifica 40          receiving a defining signal,
 tion code.                                                          a processor to process any received defining signal and to
    6. The method according to claim 1, wherein at least one            determine, based on a previously obtained checking
 radio communication defining device is a base station whose            data, whether or not the defining signal received is a
 radio distinctive defining signal is a distinctive base station        distinctive defining signal that at least partially defines a
 identity signal comprising an identification code of the base 45       special area,
 station, the checking data associated with this base station        to determine whether or not it is present in one or more
 including this base station identification code.                       special areas, and to send an updating signal at least one
    7. The method according to claim 1, wherein the special             of (i) periodically, (ii) when the mobile station enters
 operating means comprise a parameters database linking the             into or exits from one of the special areas, and (iii) when
 special area to the mobile station and to a set of one or more 50      the mobile station remains into a special area to a mobile
 operating parameters; and a value of at least one operational          telephone network about its presence in one or more of
 parameter of this set is adapted when an updating signal               the special areas, where said updating signal sending is
 signaling that the mobile station exits or enters the special          uncorrelated to any mobile station phone call establish
 area is received.                                                      ment and is based on the last determination performed
    8. The method according to claim 1, wherein the operating 55        by the mobile station about its presence in the special
 parameter is a tariff flag or a service flag that enables or           aaS.
 disables a special tariff or a service for the mobile station.      14. A non-transitory computer readable medium storing
    9. The method according to claim 1, wherein the updating computer readable program code for causing a computer to
 signal includes a request to access a service or multimedia perform a method, the method comprising:
 content and the mobile telephone network routes this request 60 (a) observing a channel and processing any received signal
 to apart of the special operating means that allow or forbid the       by the mobile station in order to determine whether or
 provision of this service or multimedia content depending on           not it is receiving a defining signal,
 whether or not the mobile station is into the special area.         (b) processing any received defining signal by the mobile
    10. The method according to claim 1 further comprising,             station and the mobile station determines, based on a
 receiving by the mobile station the checking data from the 65          previously obtained checking data, whether or not the
 mobile telephone network or a signal of at least one radio             defining signal received is a distinctive defining signal
 device or from manual input.                                           that at least partially defines one of the special areas, and
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     determines whether or not the mobile station is present
     in one or more of the special areas,
  (c) sending an updating signal from the mobile station to a
     mobile telephone network about the mobile station pres
     ence in one or more of the special areas, where the 5
     updating signal sending is uncorrelated to any mobile
     station phone call establishment and is based on the last
     determination performed by the mobile station about its
     presence in each of the special areas, and said updating
     signal being sentat least one of (i) periodically, (ii) when 10
    the mobile station enters into or exits from one of the
    special areas, and (iii) when the mobile station remains
    into a special area.
                       k   k   k   k   k
